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                                                                                                  U.S. DISTRICT COURT
                                                                                                      N.D. OF ALABAMA


                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA

 MARK DUKE, et al.,

          Plaintiffs,

 vs.                                                    No.: 4:14-cv-01952-VEH-HGD

 COMMISSIONER JEFFERSON DUNN, et
 al.,

          Defendants.


                          NOTICE OF SETTLEMENT AND REQUEST
                             FOR ADMINISTRATIVE CLOSURE


       COME NOW all Plaintiffs and all Defendants, jointly, by and through their counsel of record

to inform the Court that the parties have settled this matter in a private settlement agreement

pursuant to 18 U.S.C. §3626(c)(2). In order to facilitate the agreement, the parties jointly request

that this Court administratively close the case until the agreement terminates on November 1, 2019,

unless the case is reinstated before that date in the manner described herein.

     In support of this request, the parties state the following:

1.       On November 1, 2017, all parties via respective counsel reached a resolution and

executed a private settlement agreement.

2.       The parties request that this Court administratively close the case in order to allow the

parties to carry out the agreement. The parties further request that the administrative closure

remain in effect for the term of agreement (2 years) at which time the case will be dismissed

unless, during the two year term, a motion for reinstatement is made and granted according to the

procedures outlined in “Section 5. Dispute Resolution” of the private settlement agreement.
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3.     This Court will retain jurisdiction over this matter for the sole purpose of the potential

reinstatement of the case pursuant to 18 U.S.C. 3626(c)(2).

4.     The Parties will not seek and will object to any Federal court enforcement of this

Agreement, adoption or approval of this Agreement, and any order retaining jurisdiction over this

matter or the Agreement with the sole exception being stated above. The Parties are not asking

the Court to adopt the agreement as a consent decree or to retain jurisdiction over its terms for

court enforcement or to otherwise approve the agreement. Nor do the parties ask the Court to

retain jurisdiction to enforce the terms of the agreement.

       Wherefore, all parties request this Court administratively close this case until November

1, 2019, or until, within the two year term, the case is reinstated after a motion to reinstate the

case is made and granted in accordance with the private settlement agreement and 18 U.S.C.

§3626(c)(2).

       Jointly submitted this day, the 1st day of December, 2017.

       s/ Charlotte R. Morrison
       Charlotte R. Morrison
       Equal Justice Initiative
       122 Commerce Street
       Montgomery, AL 36104
       PH: (334) 269-1803; FX: (334) 269-1806
       email: cmorrison@eji.org

       Counsel for the Plaintiffs

       /s/ Bart Harmon
       Bart Harmon
       ADOC Legal Division
       301 S. Ripley St
       Montgomery, Alabama 36130
       PH: (334) 353-3881; FX: (334) 353-3891
       bart.harmon@doc.alabama.gov

       Counsel for the Defendants




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